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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 OXFORD DIVISION

                                                    )
UNITED STATES OF AMERICA,                           )
                                                    )
                      Plaintiff,                    )
                                                    )
v.                                                                     3:18cv127-NBB-JMV
                                                    ) Civil Action No. _________________
                                                    )
DELTA PHARMA, INC., a corporation, and              ) COMPLAINT FOR
TOMMY T. SIMPSON and                                ) PERMANENT INJUNCTION
CHARLES MICHAEL HARRISON, individuals,              )
                                                    )
                      Defendants.                   )


       The United States of America, Plaintiff, by and through its undersigned counsel, and on

behalf of the United States Food and Drug Administration (“FDA”), respectfully represents as

follows:

       1.     This statutory injunction proceeding is brought under the Federal Food, Drug, and

Cosmetic Act (the “Act”), 21 U.S.C. § 332(a), and this Court’s inherent equitable authority, to

permanently enjoin the defendants, Delta Pharma, Inc. (“Delta Pharma”), a corporation, and

Tommy T. Simpson and Charles Michael Harrison, individuals (collectively, “Defendants”) from:

(a) violating 21 U.S.C. § 331(a) by introducing and causing to be introduced, and delivering and

causing to be delivered for introduction, into interstate commerce, articles of drug that are

adulterated within the meaning of 21 U.S.C. § 351(a)(2)(A) and 351(a)(2)(B), and that are

misbranded within the meaning of 21 U.S.C. § 352(f)(1); (b) violating 21 U.S.C. § 331(k) by

causing articles of drug to become adulterated within the meaning of 21 U.S.C. § 351(a)(2)(A) and

351(a)(2)(B), and to become misbranded within the meaning of 21 U.S.C. § 352(f)(1), while such

drugs are held for sale after shipment of one or more of their components in interstate commerce;
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and (c) violating 21 U.S.C. § 331(d) by introducing and causing to be introduced, and delivering

and causing to be delivered for introduction, into interstate commerce, new drugs, as defined by

21 U.S.C. § 321(p), that are neither approved under 21 U.S.C. § 355, nor exempt from approval.

                                      Jurisdiction and Venue

        2.       This Court has jurisdiction over the subject matter and all parties to this action

under 28 U.S.C. §§ 1331, 1337, and 1345 and 21 U.S.C. § 332(a).

        3.       Venue in this district is proper under 28 U.S.C. § 1391(b) and (c).

                                 Defendants and Their Operations

        4.       Delta Pharma is a Mississippi corporation currently located at 114 W. Mulberry

Street, Ripley, Mississippi, within the jurisdiction of this Court.        Delta Pharma has been

manufacturing drug products since April 2001 and holds active Sterile Product Outsourcer Facility

and Wholesaler Permits in Mississippi. Delta Pharma registered as an outsourcing facility

pursuant to 21 U.S.C. § 353b on August 6, 2014, and it most recently re-registered as an

outsourcing facility on October 20, 2017.

        5.       Tommy T. Simpson is Delta Pharma’s President and seventy-five percent owner.

Defendant Simpson is the person most responsible for Delta Pharma’s operations, including, but

not limited to, manufacturing and quality operations, and he has the authority to prevent, detect,

and correct violations. Defendant Simpson performs his duties at Delta Pharma, within the

jurisdiction of this Court.

        6.       Charles Michael Harrison is Delta Pharma’s Vice President and Pharmacist in

Charge.      Defendant Harrison also participates in manufacturing and quality operations. In

Defendant Simpson’s absence, Defendant Harrison is the person most responsible for Delta




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Pharma’s manufacturing operations, and has the authority to prevent, detect, and correct violations.

Defendant Harrison performs his duties at Delta Pharma, within the jurisdiction of this Court.

        7.      During their regular course of business, Defendants manufacture, process, pack,

label, hold, and distribute articles of drug, within the meaning of 21 U.S.C. § 321(g)(1), including

sterile injectable drugs. Sterile drugs include drugs that are required to be sterile under Federal or

state law or drugs that, by nature of their intended use or method of administration, are expected

to be sterile (“sterile drugs”). See 21 U.S.C. § 353b(d)(5). Defendants’ sterile drugs include

injectable corticosteroids and antihistamines, such as Dexamethasone Acetate Suspension,

Betasone SA-6, Delta MP-100, Betasone, and Bromphed.

        8.      Defendants do not distribute to individual patients with prescriptions, but instead

fill orders for compounded drugs for “office use” (also referred to as “office stock”) to doctors’

offices in multiple states.

        9.      Defendants manufacture drugs at Delta Pharma using components that were

shipped in interstate commerce, including components from New York and New Jersey.

        10.     During their regular course of business, Defendants distributed their drug Delta

MP-100 with labels that omitted required storage and handling instructions. Defendants also

distributed their drug Dexamethasone Acetate Suspension, which is not distributed pursuant to

patient-specific prescriptions, with labels that omitted the required statement “Office Use Only”.

                                     The Act’s Requirements

        11.     Under the Act, a “drug” includes any article that is “intended for use in the

diagnosis, cure, mitigation, treatment, or prevention of disease,” 21 U.S.C. § 321(g)(1)(B), and

that is “intended to affect the structure or any function of the body.” 21 U.S.C. § 321(g)(1)(C).




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       12.     A drug is deemed to be adulterated “if it has been prepared, packed, or held under

insanitary conditions whereby it may have been contaminated with filth, or whereby it may have

been rendered injurious to health.” 21 U.S.C. § 351(a)(2)(A).

       13.     The Act requires that drugs be manufactured in accordance with current good

manufacturing practice (“CGMP”). 21 U.S.C. § 351(a)(2)(B); see also 21 C.F.R. § 210.1(b). A

drug is deemed to be adulterated if the methods used in, or the facilities or controls used for, its

manufacture, processing, packing, or holding do not conform to or are not operated or administered

in conformity with CGMP to assure that it meets the requirements of the Act as to safety and that

it has the identity and strength, and meets the quality and purity characteristics, which it purports

or is represented to possess, regardless of whether the drug is actually defective in some way. FDA

has promulgated CGMP regulations for drugs at 21 C.F.R. Parts 210 and 211.

       14.     A drug is deemed to be misbranded “unless its labeling bears adequate directions

for use.” 21 U.S.C. § 352(f)(1).

       15.     The Act requires, subject to certain exceptions not applicable here, that drug

manufacturers obtain FDA approval of a new drug application (“NDA”), an abbreviated new drug

application (“ANDA”), or an investigational new drug exception (“IND”) with respect to any new

drug that manufacturers introduce into interstate commerce. 21 U.S.C. §§ 331(d), 355(a). A “new

drug” includes any drug “the composition of which is such that such drug is not generally

recognized, among experts qualified by scientific training and experience to evaluate the safety

and effectiveness of drugs, as safe and effective for use under the conditions prescribed,

recommended, or suggested in the labeling thereof.” 21 U.S.C. § 321(p)(1).

       16.     The label of a drug compounded in an outsourcing facility must contain several

specified statements and information, including storage and handling instructions, 21 U.S.C.

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§ 353b(a)(10)(A)(iii)(VII), and the statement “Office Use Only” if the drug is not dispensed or

distributed pursuant to a patient-specific prescription, 21 U.S.C. § 353b(a)(10)(A)(iii)(IX), to be

eligible for the exemptions applicable to outsourcing facilities.

                        The Act’s Exemptions for Compounded Drugs

       17.     Compounding generally refers to the practice in which a licensed pharmacist or

physician (or, in the case of an “outsourcing facility,” a person under the direct supervision of a

licensed pharmacist) combines, mixes, or alters ingredients to create a drug. Outsourcing facilities

are not required to obtain prescriptions for identified individual patients.        See 21 U.S.C.

§ 353b(d)(4)(C).

       18.     Under the Act, an “outsourcing facility” is a facility that engages in the

compounding of sterile drugs, registers as an outsourcing facility pursuant to 21 U.S.C. § 353b(b),

and complies with all of the requirements of 21 U.S.C. § 353b. See 21 U.S.C. § 353b(d)(4)(A).

       19.     Under the Act, drug products compounded in a registered outsourcing facility are

exempt from adequate directions for use and premarket approval requirements if the drugs

compounded by the outsourcing facility are compounded in accordance with all of the conditions

in 21 U.S.C. § 353b. See 21 U.S.C. § 353b(a).

       20.     Outsourcing facilities under 21 U.S.C. § 353b are not exempt from complying with

CGMP. See 21 U.S.C. § 353b(a).

                                FDA’s February 2017 Inspection

       21.     FDA conducted its most recent inspection of Delta Pharma between February 13

and 23, 2017 (“2017 Inspection”).




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       22.     FDA investigators observed and documented numerous insanitary conditions, as

described further in paragraph 25 below, and deviations from CGMP requirements for drugs, as

described further in paragraph 28 below.

       23.     As discussed further in paragraphs 33 and 38 below, FDA also observed and

documented that Defendants manufactured and introduced into interstate commerce drugs with

labels that omitted information required by 21 U.S.C. § 353b(a)(10), and this inspection also

revealed that Defendants manufacture and introduce into interstate commerce unapproved new

drugs and misbranded drugs.

       24.     At the close of the 2017 Inspection, FDA investigators issued a Form FDA-483,

List of Inspectional Observations (“FDA-483”) to Defendant Simpson and discussed the FDA-483

observations with him and Defendant Harrison, among others.

                          Adulteration Due to Insanitary Conditions

       25.     The insanitary conditions observed by FDA at the Delta Pharma facility during

FDA’s 2017 Inspection establish that drugs manufactured and distributed by Defendants are

adulterated within the meaning of 21 U.S.C. § 351(a)(2)(A). The insanitary conditions observed

by FDA during the 2017 Inspection include, but are not limited to:

               a.     Use of fifty-foot-long tubing to process purportedly sterile drugs, without

determining whether Defendants’ procedures for sterilizing the tubing are effective or assessing

its compatibility with Defendants’ drug products to ensure that chemicals or particulates from the

tubing do not leach, interact, or otherwise contaminate Defendants’ drug products;

               b.     Failure to adequately conduct process simulation studies (media fills) to

provide assurance that Defendants’ aseptic processes are effective; and




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               c.      Failure to appropriately use a sporicidal agent to disinfect areas where

Defendants process their purportedly sterile injectable drug products.

       26.     Defendants violate 21 U.S.C. § 331(a) by introducing and causing to be introduced,

and delivering and causing to be delivered for introduction, into interstate commerce, articles of

drug that are adulterated within the meaning of 21 U.S.C. § 351(a)(2)(A), in that they are prepared,

packed, or held under insanitary conditions whereby they may have been contaminated with filth

or rendered injurious to health.

       27.     Defendants violate 21 U.S.C. § 331(k) by causing articles of drug to become

adulterated within the meaning of 21 U.S.C. § 351(a)(2)(A), while such drugs are held for sale

after shipment of one or more of their components in interstate commerce.

                             Adulteration Due to CGMP Violations

       28.     During the 2017 Inspection, FDA investigators documented numerous deviations

from CGMP requirements for drugs, including but not limited to Defendants’ failure to:

               a.      Establish and follow appropriate written procedures that are designed to

prevent microbiological contamination of drug products purporting to be sterile, including

validation of all aseptic and sterilization processes, see 21 C.F.R. § 211.113(b);

               b.      Ensure and validate that drug product containers and closures are

adequately sterilized and processed to remove pyrogenic properties (depyrogenation), see 21

C.F.R. § 211.94(c);

               c.      Establish adequate control systems necessary to prevent contamination

during aseptic processing, including, but not limited to, adequate environmental monitoring, and

an adequate system for cleaning and disinfecting the room and equipment to produce aseptic

conditions, see 21 C.F.R. § 211.42(c)(10)(iv)(v);

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                 d.     Establish adequate written testing program to assess stability characteristics

of Defendants’ drug products, see 21 C.F.R. § 211.166(a);

                 e.     Thoroughly review and investigate any unexplained discrepancy or the

failure of a batch or any of its components to meet any of its specifications, see 21 C.F.R.

§ 211.192; and

                 f.     Establish an adequate quality control unit that has the responsibility and

authority to approve or reject all components, drug product containers, closures, in-process

materials, packaging material, labeling, and drug products, and has the authority to investigate any

errors that may have occurred, see 21 C.F.R. § 211.22(a).

       29.       These observations establish that Defendants’ drugs were adulterated within the

meaning of 21 U.S.C. § 351(a)(2)(B).

       30.       Defendants violate 21 U.S.C. § 331(a) by introducing and causing to be introduced,

and delivering and causing to be delivered for introduction, into interstate commerce, articles of

drug that are adulterated within the meaning of 21 U.S.C. § 351(a)(2)(B), in that the methods used

in, or the facilities or controls used for, their manufacturing, processing, packing, and holding do

not comply with CGMP to assure that they meet the requirements of the Act as to their safety and

that they have the identity and strength, and meet the quality and purity characteristics, which they

purport or are represented to possess.

       31.       Defendants also violate 21 U.S.C. § 331(k) by causing articles of drug to become

adulterated within the meaning of 21 U.S.C. § 351(a)(2)(B), while such drugs are held for sale

after shipment of one or more of their components in interstate commerce.




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                                     Unapproved New Drugs

       32.     Two of Defendants’ compounded drugs, Delta MP-100 and Dexamethasone

Acetate Suspension, are not generally recognized as safe and effective because there are no

published adequate and well-controlled clinical studies of those drugs upon which qualified

experts could conclude that the drugs are safe and effective. Therefore, they are new drugs within

the meaning of 21 U.S.C. § 321(p).

       33.     Drugs manufactured at an outsourcing facility in compliance with 21 U.S.C. § 353b

are exempt from the new drug approval requirements under 21 U.S.C. § 355. 21 U.S.C. § 353b(a).

To be entitled to that exemption, Defendants need to meet all of the statutory elements of 21 U.S.C.

§ 353b for each drug product. See 21 U.S.C. § 353b(a). At the time of the 2017 Inspection, the

labels for many of Defendants’ drugs, including but not limited to Delta MP-100 and

Dexamethasone Acetate Suspension, failed to include the statement “Not for Resale” as required

by 21 U.S.C. § 353b(a)(10)(A)(iii)(IX). Defendants have corrected this labeling deficiency;

however, the labels for these two drugs fail to include other required information. Specifically,

the labels for Defendants’ Delta MP-100 does not include the required storage and handling

instructions and the labels of Defendants’ Dexamethasone Acetate Suspension, which is not

distributed pursuant to patient-specific prescriptions, does not include the required statement

“Office Use Only.” 21 U.S.C. § 353b(a)(10)(A)(iii)(VII) and 353b(a)(10)(A)(iii)(IX). Thus, these

drug products, which are new drugs, are not exempt from the approval requirements. See 21 U.S.C.

§ 353b(a) and 353b(d)(4)(A).

       34.     Defendants’ drugs, Delta MP-100 and Dexamethasone Acetate Suspension, lack an

approved NDA or ANDA, as required by 21 U.S.C. § 355, and are not otherwise exempt from

approval under 21 U.S.C. § 355(i). Hence, these drug products are unapproved new drugs.

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       35.     Defendants’ distribution into interstate commerce of these unapproved new drugs

violates 21 U.S.C. § 331(d).

                          Misbranding Due to Inadequate Directions for Use

       36.     Due to their toxicity or other potentiality for harmful effect, or the method of their

use, or the collateral measures necessary to their use, Defendants’ drugs are not safe for use except

under the supervision of a practitioner licensed by law to administer such drugs. As such,

Defendants’ drugs are “prescription drugs” within the meaning of 21 U.S.C. § 353(b)(1)(A).

       37.     “Adequate directions for use” means directions under which a layperson could use

a drug safely and effectively for the purposes for which the drug is intended. 21 C.F.R. § 201.5.

A prescription drug, by definition, cannot bear adequate directions for use by a layperson because

such drug must be administered under the supervision of a licensed practitioner. See 21 U.S.C.

§ 353(b)(1). FDA has established exemptions for certain drug products from the requirements that

labeling bear adequate directions for use, but because Defendants’ drug products are unapproved

new drugs, they do not satisfy the conditions for any of these exemptions. See 21 C.F.R.

§§ 201.115, 201.100.

       38.     Because Delta Pharma was registered with FDA as an outsourcing facility at the

time of FDA’s 2017 Inspection, it was required to comply with all of the requirements of 21 U.S.C.

§ 353b to be able to avail itself of the exemptions in that section. Because the labels for

Defendants’ Delta MP-100 fail to include storage and handling instructions and the labels for

Defendants’ Dexamethasone Acetate Suspension, which is not distributed pursuant to patient-

specific prescriptions, fail to include the statement “Office Use Only” in violation of 21 U.S.C.

§ 353b(a)(10)(A)(iii)(VII) and 353b(a)(10)(A)(iii)(IX), these compounded drugs do not qualify




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for 21 U.S.C. § 353b’s exemption from the requirement for adequate directions for use contained

in 21 U.S.C. § 352(f)(1) and are thus misbranded. See 21 U.S.C. § 353b(a), 353b(d)(4)(A).

       39.     Defendants violate 21 U.S.C. § 331(a) by introducing and causing to be introduced,

and delivering and causing to be delivered for introduction, into interstate commerce, articles of

drug that are misbranded within the meaning of 21 U.S.C. § 352(f)(1), in that the labeling of the

drugs fails to bear adequate directions for use, and the drugs are not exempt from the requirements

of 21 U.S.C. § 352(f)(1).

       40.     Defendants violate 21 U.S.C. § 331(k) by causing articles of drug that are not

exempt from the requirements of 21 U.S.C. § 352(f)(1) to become misbranded within the meaning

of 21 U.S.C. § 352(f)(1), while such drugs are held for sale after shipment of one or more of their

components in interstate commerce.

                        Prior Inspections and Warnings to Defendants

       41.     FDA previously inspected Delta Pharma between May 16 and 24, 2016 (“2016

Inspection”) and observed similar insanitary conditions and CGMP deviations to those observed

in the 2017 Inspection, including, but not limited to, failure to determine whether the tubing is

compatible with Defendants’ drug products; failure to establish appropriate written procedures,

including validation of all aseptic and sterilization processes; failure to assure that drug product

containers and closures are suitable for their intended use by cleaning, sterilizing, and processing

them to remove pyrogenic properties (depyrogenation), and to validate depyrogenation processes;

and failure to establish adequate control systems necessary to prevent contamination during aseptic

processing, including environmental monitoring. Despite these violations, Defendants continued

to manufacture drugs without taking adequate corrective actions.




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       42.      At the close of the 2016 Inspection, FDA investigators issued a FDA-483 to

Defendant Simpson and discussed the inspectional observations with him and Defendant Harrison,

among others.

       43.      FDA Investigators also inspected Delta Pharma in October 2013, September 2010,

October 2007, and March 2004. After each inspection, FDA issued a multi-item FDA-483, citing

numerous observations, many of which were the same or similar to insanitary conditions and

CGMP deviations observed during FDA’s 2016 and 2017 Inspections, including, but not limited

to: failure to establish appropriate written procedures, including validation of all aseptic and

sterilization processes; failure to assure that drug product containers and closures are suitable for

their intended use by cleaning, sterilizing, and processing them to remove pyrogenic properties

(depyrogenation), and to validate depyrogenation processes; and failure to establish adequate

control systems necessary to prevent contamination during aseptic processing, including

monitoring environmental conditions.

       44.      FDA issued a Warning Letter dated December 9, 2014, to Defendant Simpson

notifying him that Delta Pharma’s drug products were (a) adulterated due to the presence of

insanitary conditions and violations of CGMP, (b) unapproved new drugs, and (c) misbranded

because their labeling failed to include adequate directions for use. The 2014 Warning Letter

followed a September 17, 2004 Warning Letter to Defendant Simpson raising similar concerns.

Both Warning Letters noted that the failure to take prompt action to correct deficiencies could

result in legal action without further notice, including seizure or injunction.

       45.      Despite repeated promises to correct their deficiencies, Defendants’ violations

persisted, as evidenced by the violations observed during the 2017 Inspection.




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       46.     The United States believes that, unless restrained by the Court, Defendants will

further violate 21 U.S.C. § 331(a), (k), and (d), in the manner alleged herein.

       WHEREFORE, the United States of America respectfully requests that this Court:

       I.      Permanently restrain and enjoin Defendants and each and all of their directors,

               officers, agents, representatives, employees, attorneys, successors, and assigns, and

               any and all persons in active concert or participation with any of them, from

               manufacturing, processing, packing, labeling, holding, or distributing any article of

               drug, unless and until Defendants bring their manufacturing, processing, packing,

               labeling, holding, and distribution operations into compliance with the Act and its

               implementing regulations to the satisfaction of FDA;

       II.     Permanently restrain and enjoin under 21 U.S.C. § 332(a) Defendants and each and

               all of their directors, officers, agents, representatives, employees, attorneys,

               successors, and assigns, and any and all persons in active concert or participation

               with any of them, from directly or indirectly doing or causing the following acts:

                 A. Violating 21 U.S.C. § 331(a) by introducing and/or causing to be introduced,

                     and/or delivering or causing to be delivered for introduction, into interstate

                     commerce, any drug that is adulterated within the meaning of 21 U.S.C.

                     § 351(a)(2)(A) and/or 351(a)(2)(B), and/or misbranded within the meaning of

                     21 U.S.C. § 352(f)(1);

                 B. Violating 21 U.S.C. § 331(k) by causing any drug to become adulterated

                     within the meaning of 21 U.S.C. § 351(a)(2)(A) and/or 351(a)(2)(B), and/or

                     misbranded within the meaning of 21 U.S.C. § 352(f)(1), while such drug is




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             held for sale after shipment of one or more of its components in interstate

             commerce;

         C. Violating 21 U.S.C. § 331(d) by introducing and/or causing the introduction

             into interstate commerce, and/or delivering and/or causing the delivery for

             introduction into interstate commerce, of any new drug that is neither

             approved under 21 U.S.C. § 355, nor exempt from approval;

 III.   Authorize FDA pursuant to this injunction to inspect Defendants’ places of

        business and all records relating to the receipt, manufacture, processing, packing,

        labeling, holding, and distribution of any drug to ensure continuing compliance

        with the terms of the injunction, with the costs of such inspections, including testing

        and sampling, to be borne by Defendants at the rates prevailing at the time the

        inspections are accomplished; and

 IV.    Award the United States costs and other such relief as the Court deems just and

        proper.




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       DATED this 4th day of June, 2018.

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